                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           NO. 3:13-00097
                                                )           JUDGE SHARP
KAYCEE ANNE BREEDEN [2]                         )



                      ORDER REVOKING PRETRIAL RELEASE



       In accordance with the ruling at the September 10, 2014 revocation hearing, Defendant’s

pretrial release is REVOKED and she is ORDERED to report to the custody of the United States

Marshal for this district by 9:00 a.m. on Friday, September 19, 2014.

       It is so ORDERED.




                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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